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 5

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   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:16-CR-92-JAM
12                                  Plaintiff,             STIPULATION TO CONTINUE TRIAL
                                                           CONFIRMATION HEARING
13                           v.
                                                           DATE: August 28, 2018
14   WAYNE ARTHUR YORK II,                                 TIME: 9:15 a.m.
     JUAN CARLOS MONTALBO                                  COURT: Hon. John A. Mendez
15
                                   Defendants.
16

17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for Trial Confirmation on August 28, 2018.
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            2.      By this stipulation, defendants now move to continue the Trial Confirmation Hearing
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     conference until September 18, 2018. Time has already been excluded until the current trial date under
21
     Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following: The
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     government is reviewing the previously produced electronic discovery and the previously produced PDF
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     discovery to determine the extent (if any) to which the automated conversion process produced
25
     incomplete PDFs of some emails. Until that process is complete, the parties will not be in a position to
26
     either confirm for trial for one defendant or potentially finalize details of a change of plea for the other
27
     defendant.
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            4.      The earliest date that both defense counsel will be available for a TCH and/or change of

      STIPULATION TO CONTINUE TRIAL CONFIRMATION           1
      HEARING
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 1 plea is September 18, 2018.

 2         5.      The parties therefore jointly request that the TCH be continued to September 18, 2018.

 3         IT IS SO STIPULATED.

 4

 5
     Dated: August 23, 2018                                MCGREGOR W. SCOTT
 6                                                         United States Attorney
 7
                                                           /s/ MATTHEW G. MORRIS
 8                                                         MATTHEW G. MORRIS
                                                           Assistant United States Attorney
 9

10   Dated: August 23, 2018                                /s/ CHRISTOPHER CANNON (auth. by
                                                           email)
11                                                         CHRISTOPHER CANNON
                                                           Counsel for Defendant
12                                                         WAYNE ARTHUR YORK II
13
     Dated: August 23, 2018                                /s/ TIMOTHY ZINDEL (auth. by email)
14                                                         TIMOTHY ZINDEL
                                                           Counsel for Defendant
15                                                         JUAN CARLOS MONTALBO
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18
                                          FINDINGS AND ORDER
19
           IT IS SO FOUND AND ORDERED this 23rd day of August, 2018.
20

21                                                      /s/ John A. Mendez
                                                     THE HONORABLE JOHN A. MENDEZ
22                                                   UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION TO CONTINUE TRIAL CONFIRMATION       2
      HEARING
